

People v Malachi D. (2021 NY Slip Op 05098)





People v Malachi D.


2021 NY Slip Op 05098


Decided on September 28, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: September 28, 2021

Before: Webber, P.J., Mazzarelli, González, Scarpulla, Pitt, JJ. 


Ind No. 1913/15 Appeal No. 14200 Case No. 2018-5434 

[*1]The People of The State of New York, Respondent, 
vMalachi D., Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Ying-Ying Ma), for appellant.



Judgment, Supreme Court, Bronx County (Nicholas Iacovetta, J.), rendered March 31, 2017, unanimously affirmed.
Application by defendant's counsel to withdraw as counsel is granted (see Anders v California , 386 US 738 [1967]; People v Saunders , 52 AD2d 833 [1st Dept 1976]). We have reviewed this record and agree with defendant's assigned counsel that there are no non-frivolous points which could be raised on this appeal.
Pursuant to Criminal Procedure Law § 460.20, defendant may apply for leave to appeal to the Court of Appeals by making application to the Chief Judge of that Court and by submitting such application to the Clerk of that Court or to a Justice of the Appellate Division of the Supreme Court of this Department on reasonable notice to the respondent within thirty (30) days after service of a copy of this order.
Denial of the application for permission to appeal by the judge or justice first applied to is final and no new application may thereafter be made to any other judge or justice.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: September 28, 2021








